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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


 TINNUS ENTERPRISES, LLC, ZURU                   §
 LTD.,                                           §
                                                 §
                  Plaintiffs,                    §
                                                 § CIVIL ACTION NO. 6:16-CV-00033-RWS
 v.                                              §
                                                 §
 TELEBRANDS CORPORATION,                         §
                                                 §
                  Defendant.                     §



                             ORDER ADOPTING MEMORANDUM
                        OPINION AND ORDER OF MAGISTRATE JUDGE
        The above entitled and numbered civil action was referred to United States Magistrate

 Judge John D. Love pursuant to 28 U.S.C. § 636. On April 5, 2017, the Magistrate Judge issued

 a Memorandum Opinion and Order (“Order”) denying Defendants’ Motion to stay pending Post

 Grant Review (“PGR”). Docket No. 262. Defendants filed objections to the Magistrate Judge’s

 Order (Docket No. 269), and Plaintiffs filed a response to the objections (Docket No. 276). The

 Court reviews the Magistrate Judge’s findings for clear error. 28 U.S.C. § 636 (a)(1)(A).

        Defendants first object to the Magistrate Judge’s finding that a stay would result in undue

 prejudice as clearly erroneous. Docket No. 269 at 2–3. Defendants argue that there will be no

 undue prejudice from the launch of the Easy Einstein Balloons because they are already being sold

 and are the subject of another action. Id. at 3. With respect to the Easy Einstein Balloons, the

 Magistrate Judge ultimately considered that the preliminary injunction in place in this case would

 not weigh in favor of a stay because of Defendants’ established pattern of conduct of launching

 new products as soon as this Court issues an injunction. Docket No. 262 at 4–5. Moreover, at the
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 time, although Plaintiffs had moved for a separate injunction as to the Easy Einstein Balloons on

 the asserted patents, it was not clear whether Plaintiffs would also be moving for contempt on the

 Court’s injunction in this case.     The Court therefore does not find the Magistrate Judge’s

 conclusion clearly erroneous. Ultimately, the Magistrate Judge found that the lengthy delay that

 would result from a stay “will result in undue prejudice to Plaintiffs, as the parties are direct

 competitors competing in a two-player market.” Docket No. 262 at 5. As to this conclusion,

 Defendants argue that Plaintiffs needed to identify evidence or circumstances that would change

 as a result of the prolonged stay. Docket No. 269 at 3. But such unusual circumstances are not

 the only circumstances that would create prejudice from a lengthy delay. Here, as the Magistrate

 Judge pointed out, the parties are direct competitors, a preliminary injunction is already in place

 in this action, and many of the foundational facts that gave rise to this action occurred over three

 years ago in February 2014. Because a stay would necessarily further delay the final resolution of

 these claims by several months, the Magistrate Judge’s finding that this factor weighed against a

 stay was not clearly erroneous.

        Defendants next object to the Magistrate Judge’s conclusion that a stay would not simplify

 the issues as clearly erroneous. Docket No. 276 at 4. Defendants first criticize the Magistrate

 Judge’s reliance on Chrimar as inapposite because Defendants contend that the defendants in

 Chrimar requested a stay before inter partes review was instituted. Id. at 3. However, the Chrimar

 decision cited by the Magistrate Judge and referenced in Defendants’ objections was a decision on

 a denial of a renewed motion to stay after institution by the Patent Trial and Appeal Board

 (“PTAB”). See Chrimar Systems Inc., et al., v. ADTRAN, Inc., et al., No. 6:15-cv-618-JRG-JDL

 (Docket No. 723), at 5 (E.D. Tex. Dec. 9, 2016). Regardless, the Magistrate Judge cited Chrimar

 for the concept that cancellation of all the claims is speculative (even after institution) and to note




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 the practical difficulties of resetting a trial date after significant delay if not all of the claims are

 cancelled, such as “the undertaking of re-familiarization with the issues of the case, and the

 necessity to determine the scope of what was decided by the PTAB, and how, if at all, that

 information should be presented to the jury.” Docket No. 262 at 6–7. The Court does not find

 these considerations clearly erroneous.        Defendants also object to the Magistrate Judge’s

 consideration that the Court found Defendants had not raised a substantial question as to validity

 on the preliminary injunction because the Court’s decision is preliminary. Docket No. 269 at 3.

 As to this objection, the Court finds the Magistrate Judge did not clearly err in considering those

 conclusions when weighing whether a stay was appropriate. Ultimately, the Magistrate Judge did

 not clearly err in finding that this factor did not favor a stay.

         Defendants next argue that the procedural stage of this action does not weigh against a stay.

 Docket No. 269 at 5. Defendants object to the Magistrate Judge’s finding that discovery has been

 streamlined in this action because Defendants contend there are many outstanding discovery

 disputes that remain. Id. Again, Defendants focus on only one subsidiary finding in the Magistrate

 Judge’s Order. Primarily, the Magistrate Judge noted the advanced posture of this case as “this

 case had undergone significant proceedings, including two preliminary injunctions, and the

 completion of claim construction.” Docket No. 262 at 7–8. The Court agrees with this conclusion.

 Moreover, as to discovery, the Court agrees that the many overlapping issues between this case

 and the initial action have significantly streamlined discovery through the parties’ stipulation.

 Given these circumstances, the Court agrees with the Magistrate Judge that this factor weighs

 against a stay. Moreover, the Court finds no clear error in the Magistrate Judge’s rejection of

 Defendants’ alternative request to extend the trial date.

         Finally, Defendants argue that “the Order’s failure to consider that the PTAB trial is




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 scheduled to take place at the same time as the trial date in this action was clearly erroneous.”
      .
 Docket No. 269 at 6. However, this alleged conflict was not raised by Defendants in their briefing.

 Therefore, the Magistrate Judge could not have clearly erred for failing to consider it. Regardless,

 to the extent a conflict does exist, the parties are of course free to raise such a conflict with the

 Court so that the Court can investigate whether it is able to accommodate moving the trial setting.

        For these reasons, the Court adopts the Order of the United States Magistrate Judge as the

 findings of this Court. All objections are OVERRULED and Defendants’ Motion to stay (Docket

 No. 239) is DENIED.

         SIGNED this 30th day of May, 2017.



                                                             ____________________________________
                                                             ROBERT W. SCHROEDER III
                                                             UNITED STATES DISTRICT JUDGE




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